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10

11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12

13                            UNITED STATES DISTRICT COURT

14                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

15   UNITED STATES OF AMERICA,               No. CR 2:24−CR−00570−WLH

16             Plaintiff,                    STATUS REPORT RE: UNINDICTED CO-
                                             CONSPIRATOR #1 AND DEFENDANT
17             v.                            SAFETY CONCERNS

18 CLAIRE PATRICIA HAVILAND, et
   al.,
19

20             Defendants.

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23        Plaintiff United States of America, by and through its counsel
24   of record, the United States Attorney for the Central District of
25   California and Assistant United States Attorneys Reema M. El-Amamy
26   and Bruce K. Riordan, provides the following update to the Court
27   regarding unindicted co-conspirator #1 and safety concerns related
28   to various defendants and unindicted co-conspirators.
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 1        On or about May 21, 2025, unindicted co-conspirator #1 was

 2   murdered while in state custody.1        Government counsel learned about

 3   the murder of unindicted co-conspirator #1 through a press release

 4   published the day after his murder.         Unindicted co-conspirator #1

 5   was a high-ranking Aryan Brotherhood (“AB”) associate.            The

 6   government has received credible information from one or more

 7   sources that unindicted co-conspirator #2 exercised a leadership

 8   role with respect to the greenlight on unindicted co-conspirator #1.

 9   Unindicted co-conspirator #2 is an AB member who is currently in

10   custody.   This credible information has yet to be verified

11   independently by the government.

12        The government provides this report to the Court to document

13   its efforts following the murder of unindicted co-conspirator #1.

14        1. The government recently learned of a greenlight on

15           unindicted co-conspirator #40 related to the greenlight on

16           unindicted co-conspirator #1.         The government made

17           appropriate notifications to the Federal Bureau of Prisons

18           (“BOP”) so that safety measures could be taken with respect

19           to unindicted co-conspirator #40.

20        2. The government learned about potential threats of violence

21           towards one or more defendants in this matter.            When any non-

22           speculative threats are received by the government, they are

23           promptly communicated to counsel for that particular

24           defendant.       If any attorney has not received specific

25           information regarding a threat to his/her client, it means

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27        1 See https://www.cdcr.ca.gov/news/2025/05/21/kern-valley-state-
     prison-officials-investigating-the-death-of-an-incarcerated-person-
28   as-a-homicide-9/.

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 1           that the government has not received non-speculative

 2           information regarding any threat of violence as to that

 3           defendant.

 4        3. Understandably, many defendants and their counsel have been

 5           very disturbed after the murder of unindicted co-conspirator

 6           #1 and any implications as to the safety concerns.          The

 7           government has been responding to numerous individual

 8           requests for telephone calls from counsel in this matter.

 9           Initially, this was handled by undersigned government

10           counsel.   However, given the volume of calls and the urgency

11           regarding various questions, the government issued cellular

12           telephone number of the primary case agent in this matter was

13           circulated to counsel for defendants as a primary starting

14           point for discussions regarding any safety concerns in this

15           matter.    Law enforcement resources will be expended as

16           necessary to ameliorate any safety concern.

17        4. The government has communicated with BOP at the Metropolitan

18           Detention Center (“MDC”) as appropriate regarding safety

19           concerns, including considering the murder of unindicted co-

20           conspirator #1.     The government has also alerted BOP MDC of

21           likely possession and use of drugs by one or more defendants

22           in custody so that BOP MDC may independently evaluate any in

23           custody disciplinary actions towards defendants in this

24           matter who use or possess drugs.       Drug use while discussing

25           acts of violence with others is a dangerous combination in

26           these circumstances, and the government will continue to make

27           disclosures regarding disciplinary infractions to MDC.

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 1        5. The government is in the process of obtaining communications

 2           made, to date, by custodial inmates, including those made

 3           through covert and/or unsanctioned means.         This includes

 4           using another inmate’s assigned telephone identification

 5           number.   This is a very time-consuming process and will take

 6           several weeks.

 7        6. The government continues to communicate with the California

 8           Department of Corrections and Rehabilitation as needed.

 9        7. The government has shared with all defense counsel any

10           credible threat of violence it receives that it believes to

11           be appropriate to share with all defense counsel, so that

12           defense counsel may communicate amongst themselves the safety

13           of defendants in this matter.       The government makes such

14           group disclosures only when nothing in a group disclosure

15           will harm one or more defendant.

16        The government provides this status report to the Court for

17   transparency regarding its actions regarding safety issues and to

18   have a clear record regarding what steps it takes.         Moreover, it is

19   important to the government to inform the Court of the serious

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 1   nature of any safety concerns for the majority of defendants,

 2   particularly, if, in the future, the government requests additional

 3   measures related to safety.

 4        RESPECTFULLY SUBMITTED,

 5        DATED: June 1, 2025                  BILAL A. ESSAYLI
                                               United States Attorney
 6
                                               DAVID T. RYAN
 7
                                               Assistant United States Attorney
 8                                             Chief, National Security Division

 9
                                               _/s/ Reema M. El-Amamy_________
10                                             REEMA M. EL-AMAMY
                                               Assistant United States Attorney
11

12                                             Attorneys for Plaintiff
                                               UNITED STATES OF AMERICA
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